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                 Collusive Partisan Enterprise risk to economic stability and outlook.


This document evaluates elements in question tied to the political discord, civil unrest, contentious
2020 Presidential election cycle, reasonableness of Covid-19 response, and economic stability of
the United States post 2020 Presidential election. In short, we evaluate the statements of members
of Congress, the legitimacy of the political process of the 2020 Federal election, and the economic
factors all investors should consider within their risk acceptance models.             The genesis of this
document comes from the following questions:


         ‘Is the United States still a financial haven?’ Or, ‘Has partisan leadership arising
         from special interests, executed through a collusive Congress created an illusion
         investors should reject?’


The joint evaluation reveals the 2020 Federal election to be in short, illegally conducted,
unconstitutional and the 117th Congress, as well as the Biden / Harris presidency to be illegitimate.

    §    We no longer view the United States to be a ‘safe haven’ financially and advise investors to
         seek more stable safe harbor investments not tied to United States Government securities.

    §    We foresee future degradation in the economic and political stability in the United States due
         to the illegitimacy of two branches of government.
    §    We project an increase in instability and volatility for the United States.
    §    We also warn investors immediate short term ‘growth’ in stocks, and bond markets to be
         artificial and unsustainable. Due to emerging instability due to revelations of governmental
         illegitimacy leading to loss of authority to enforce existing regulations.

    §    Also, we consider the government post 2008 ‘bail-out’ of too big to fail institutions to be
         under considered as a factor of national debt. Investors should be aware of risks tied to market
         capitalization values of F.A.N.G.1 companies due to major shareholders, leaders, and tied to
         company ‘funds’ engaged in and in support of unlawful conduct of partisan enterprises.


1
    The acronym FANG translates to: Facebook, Apple, Netflix, Google

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There exists a high risk to liabilities tied to emerging civil RICO litigation risking from injuries
suffered by businesses tied to the Covid-19 pandemic, and its fraudulent usage as a mechanism by
partisan enterprises. There is sufficient evidence of partisan enterprise engagement in fraudulent
conduct, acts of collusion, racketeering, and conspiracy through and by ‘corporate’ persons which
are now factors investors must consider within their due diligence review.


                                                 Section I.
Prima Facia facts.
Never before in US History has a United States President faced a more engrained ‘resistance
movement’ seeking to neuter every aspect of his leadership and person than President Donald J.
Trump. While on the surface this might seem to be a ‘normal’ aspect of the American political
process when conducting a deeper analysis this façade of normalcy is quickly eroded. From 2015
onward “Never-Trumpers” executed coordinated attacks upon the OFFICE of the President in a
constant barrage designed to destabilize the United States, and disallow the proper administration
of Presidential duties.


Donald J. Trump in 2015 ran an election campaign publicly stating his intent to ‘drain the swamp’.
For the first time in United States History a citizen arose from the ranks of ‘citizen class’ to publicly
and brazenly confront those of the deep rooted and often corrupted ‘political class’.       Despite the
statements and moans of “Never-Trumpers’ who cried “not my President”, Donald J. Trump upon
careful review LAWFULLY obtained the Office of President in 2016. Upon obtaining office he
quickly began to implement agendas that deliver on campaign promises2 that he offered on the
Campaign trail, which was unique in the American Experience.


The ‘resistance’ began election night 2016 with opposition candidate Hillary Rodham Clinton and
former President William J. Clinton appearing before supporters and national television jointly
wearing the color ‘purple’ in an attempt to start a color revolution3. Clinton refused to concede,




2
    https://www.bbc.com/news/world-us-canada-37982000
3
    https://time.com/4565978/how-hillary-clinton-lost/

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continued to level personal attacks,4 and lit the fuse5 to the ‘not my President’ movement6 despite
long held traditions of concession and reconciliation of past political leaders7. And thus, emerged
the face of the “partisan enterprise”8. The Hillary Clinton for President campaign was the source
of nearly every post-election attack weathered by Donald J. Trump after he lawfully obtained the
office of President. Further as shown, President Trump’s 2016 to 2020 ‘scandals’ originated from
‘get Trump’ affiliated parties often funded by the Clinton Campaign or associated with partisan
enterprises9 in support of the ‘color revolution’ started by Hillary Rodham Clinton10.


From 2016 through 2020 President Donald J. Trump faced continued personal attacks and vicious
propaganda leveled by deeply seated members of two partisan enterprises who acted jointly in. the
media in the media with the goal of eroding the President’s ability to keep his ‘drain the swamp’
campaign promise.           Our review will show this conduct not to be the conduct of political
partisanship but collusive conduct of unlawfully operating enterprises engaged in unethical and
often criminal conduct.            This review will also discuss the manner in which such conduct is
unlawful and economic risks investors should consider in management of their financial portfolios.


         From the Mouth of Babes.
When conducting any critical analysis leading to seeming untraditional conclusions one must
consider all possibilities and associated facts in order to determine the ‘truth’ you seek.
Conducting geopolitical analysis is likely the most difficult task a researcher can conduct as the
majority of politics is opinion or ideologically based and more often than not lacks any tangible
fact.    Without a starting point, one cannot find an ending point so most institutional financial
analysts or talking heads refuse to form any tangible opinion which complies with any matrix of


4
   https://www.nbcnews.com/news/us-news/hillary-clinton-attacks-donald-trump-wellesley-college-graduation-
   n765176
5
   https://www.politico.com/magazine/story/2017/11/02/clinton-brazile-hacks-2016-215774
6
   https://en.wikipedia.org/wiki/Not_My_Presidents_Day
7
   https://www.cnn.com/2017/05/03/politics/donald-trump-hillary-clinton/index.html
8
      https://www.nbcnews.com/news/crime-courts/fbi-releases-documents-showing-payments-trump-dossier-author-
    steele-n897506 “ Fusion had been hired to get information on Trump during the primaries by a Republican media
    firm, Washington Free Beacon. When Trump became the Republican nominee, the Clinton campaign and the
    Democratic Party began picking up the tab for the Fusion research.”
9
    https://www.motherjones.com/kevin-drum/2017/11/heres-the-joint-fundraising-agreement-between-hillary-
    clinton-and-the-dnc/
10
    https://nypost.com/2020/09/29/cia-told-obama-of-claim-clinton-conjured-trump-russia-scandal-spy-chief/

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‘success’. Frankly, the topics we are reviewing in this report will never be reviewed by any large-
scale investment firm. Frankly they do not need to as their income streams are assured whether
they are right or wrong. This is just the facts of the industry and has been accepted as a ‘risk’ to
investors under the false label “no one has a crystal ball or is able to predict the future”. While at
the same time selling ‘services’ specifically labeled to reference their ability to do so.


However, IN THIS CASE and in a unique snapshot in history a document has been revealed which
provides a more than reasonable starting point from which we can undertake this journey. Before
we review this document, we must first recognize the ‘power of words’ and the ‘use of words’ in
acts of deception. In the conduct of the deception as executed by partisan enterprises as reviewed
here within, we simply need to review the word ‘democracy’ and the misuse of this word in context
to the legitimacy of ‘government’ as defined within the United States Constitution.


In November of 2019 Governance Studies at Brookings issued a report titled “THE
DEMOCRACY PLAYBOOK: Preventing and Reversing Democratic Backsliding”. The report in
high detail outlines the conduct of partisan enterprises in the conduct leading up to the 2020 United
States Federal Elections. The report detailed a common path to obtain Federal elected offices in
order to effectively overturn the constitutionally protected form of government as defined in
Article IV, Section 4. Subversively the document outlines the method, manner, and purpose of
the partisan enterprises while omitting the fact the United States form of Government is NOT
democratic. By law, the states are guaranteed a republican form of government11. This leads to
concerns that members of partisan enterprises are actively engaged in acts to overthrow the lawful
form of government of the United States, which is constitutionally guaranteed. 12


This subtle omission of fact with the overturn of propaganda engrained in talking points shows the
clear and determined plan to overthrow the legitimate government of the United States of
Government. The report directly states the shift of power occurs not through ‘overt coup ‘d’états
or forceful authoritarian takeovers Rather, backsliding is occurring through incremental steps and


11
     See Article 4 Section 4 of the United States Constitution.
12
     This represents a protentional of a direct insider threat which is of a concern greater than those solely financial,
     and represents a unlawful shift in geopolitical power.

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often under a legal façade.’ 13 and as we show in this review, this document was the ‘playbook’
from which the 2020 election was conducted. This review will also show where and HOW leaders
in partisan enterprises knowingly engaged in seditious conduct from their offices within the United
States Congress.
                                                 Section II.
Economic relevance of ‘balance of powers.’
In the simplest terms; the Framers of the US Constitution structured the government so that the
three branches have separate powers. These branches are the legislative branch (Congress) the
judicial branch (the courts), and the executive branch (the presidency). These branches must both
cooperate and compete to enact policy. Each of the three branches has the power to check the other
two, which ensures that no one branch can become too powerful and that government as a whole
is constrained. This structure in theory ensures that the people’s will is represented by allowing
citizens multiple access points to influence public policy, and permitting the removal of officials
who abuse their power. HOWEVER, as shown by the election of Donald J. Trump, ‘the people’
saw ‘their will’ was no longer represented in the influence of public policy, nor economic
decisions.


From 2016 through 2020 one branch of government and partisan enterprise engaged bureaucrats
graphically abused the powers of office to destabilize and limit the executive branch. This conduct
caused considerable confusion as to the long-term economic policy of the United States beyond
the presidency of Donald J. Trump. The executive branch’s term policies regarding the nation of
China which included economic embargos; trade negotiations and direct response to China’s state
led corporate espionage activities signaled a ‘bell weather’ change which the majority of investors
saw as a reasonable return to the assurance of national economic stability. In response to logical
steps which eventually led to China’s capitulation; Nancy Pelosi stated "You can almost hear the
leadership of the Chinese government laughing, from China to America. Maybe you can feel it
coming through the ground, because if you dig a hole here, you will reach China. But the
reverberation is so appalling,"14


13
   “THE DEMOCRACY PLAYBOOK: Preventing and Reversing Democratic Backsliding” by Elsen, Kenealy, Corke,Taussig
   and Polyakana, Page 9.
14
   https://www.globaltimes.cn/content/1075381.shtml

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Historically, a divided Congress tends to be good for stock market investors “the reason is due in
part to the fact that stocks “tend to like gridlock and taking out major policy disruption”15.
However, Pelosi’s 2017 statement counters her statement of support President Trump’s earlier
policy in November of 2018 where she stated “The report of the USTR investigation on China’s
intellectual property theft is a good first step, but far more is need to confront the full range of
China’s bad behavior. Beijing’s regulatory barriers, localization requirements, labor abuses,
anticompetitive ‘Made in China 2025’ policy and many other unfair trade practices require a full
and comprehensive response. The tariffs announced today should be used as a leverage point to
negotiate more fair and open trade for U.S. products in China.”16 Pelosi’s pandering confused
investors, caused instability in continuity and extended the acts of ‘a divided Congress’ to acts of
division between the legislative branch and the executive branch. Criticism is one thing, constant
pandering and propaganda leads to sedition.


Introduction to “partisan enterprises”.
Founded in 1866 as the Democratic National Congressional Committee, “the Democratic
Congressional Campaign Committee (DCCC, sometimes spoken of as "D triple-C" or "D-trip")
is the Democratic Hill committee for the United States House of Representatives, working to elect
Democrats to that body. The DCCC recruits candidates, raises funds, and organizes races in
districts that are expected to yield politically notable or close elections.”, as reported by the DCCC
to Wikipedia.17 However, the DCCC is directly staffed by persons who formally acted as office
staff for leading members of the Democratic party in the house, and worked as ‘political
operatives’. Due to a change in campaign reform laws18 which took effect in 2004 the DCCC was
by law directed to split into two organization ‘a few months’ before each election day.                               Each
Organization is direct to act in the following manner:




15
   https://fortune.com/2020/11/04/stock-market-2020-election-results-divided-Congress-house-senate-democrats-republicans-us-
   economy/
16
   https://www.forbes.com/sites/kenrapoza/2018/11/05/dear-chinese-government-the-democrats-wont-save-
   you/?sh=46e76c685f51
17
   https://en.wikipedia.org/wiki/Democratic_Congressional_Campaign_Committee#cite_note-Bowden-1
18
   McCain-Feingold - aka. “Bipartisan Campaign Reform Act of 2002”

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     1.    One organization (the "Coordinated" campaign) can continue to stay in contact with the
           individual Congressional campaigns, offering advice and suggestions to candidates and
           their staffs in each race.
     2.    The other organization (the "Independent Expenditure" campaign), which makes
           independent expenditures in Congressional districts on behalf of the campaigns, is not
           allowed to coordinate activities with the campaigns.

But, due to the rise of Mrs. Clinton’s ‘color revolution’19 members of the DCCC in 2016 through
2018 formed companies such as Sapphire Strategies20. While Mrs. Clinton came on the record to
Vogue magazine while promoting her memoir ‘What Happened’ alleging her ‘color’ choice was a
‘nod to bipartisanship’ her conduct post 2016 election night is otherwise. Factually, she and other
big names within the political party pushed a ‘never trump’ and ‘at all cost’ resistance movement
which were further expanded by Maxine Waters21, and other lower-level mouth pieces. All of
these talking points, and commentary arose from funding provided by DNC hardliners such as
Clinton which moved to assist in the formation of companies such as Sapphire.


Company’s established from Mrs. Clinton’s calls for resistance and revolution22 even promoted
their past accomplishments and contacts. Such as Sapphire which was founded by Julia Ager and
shows considerable and direct ties to senior house members as represented in the company
founder’s biography:

     “Before launching Sapphire Strategies, Julia Ager was 2018 Chief Digital Officer at the
     DCCC. She led the Committee to raise historic amounts online — over $110 million for the
     DCCC and $18 million for House campaigns — and win a resounding Democratic House
     Majority in the 2018 midterms. As part of that success, Julia led the DCCC to build the
     largest and most successful list growth operation in the country, raising $27 million online
     through email acquisition alone. Julia and her team ran a historic digital advertising
     operation across 44 House districts. This $3.5 million program helped increase voter
     turnout by 188% for millennials, 174% for Hispanics, and 157% for African Americans”

     An admission of deceit.
On the surface this conduct seems to benefit the people of the United States. However, in 2019, a
year after Ms. Ager formed Strategic Services, the root damages of Ms. Ager’s work at the DCCC


19
   https://www.vogue.com/article/hillary-clinton-purple-suit-concession-speech
20
   https://www.sapphire-strategies.com/about-us
21
   https://www.cnn.com/2018/06/25/politics/maxine-waters-trump-officials/index.html
22
   https://www.vox.com/policy-and-politics/2016/11/3/13318750/hillary-clinton-vision-government

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emerged in a case before the United States Court of Appeals for the 11th Circuit23 in which the
leaders of the Democratic National Committee made the shocking statement “we have no duty to
tell ‘the people’ the truth” insisting their status as a ‘corporate’ entity afforded them the ability to
circumvent laws regarding fraud, misrepresentation, and acts of purposeful deception.


This shocking statement by members of Congress acting in support of a corporate entity
specifically designed to link all offices in government held by members of the corporation itself
should have been headline news. But it was not. The ramifications of the knowledge that more
than half of the 435 Members of the US House of Representatives, and half of the Members of the
US Senate feel no duty to ‘tell the truth’ provides no basis of legitimacy of any statement or policy
made by these persons. In short, how can any investor rationally predict the stability of financial
markets, and the overall economy of the United States itself when ‘leadership’ in Federal office
behaves unethically?


      History of questionable conduct.
While most readers of this document will mentally flock to the ‘Bush v. Gore’ litigation and the
2002 Presidential election in an attempt to discount our analysis. We must caution factually the
United States has a LONG and torrid history of Federal election fraud, crimes, and investigations
of such conduct.         Most of the last 20 years new media in Federal elections have focused on the
Presidential vote outcome as a ruse to hide the more revealing truth, is the Federal election / ballot
legitimate?        This notwithstanding, there is historic evidence of election crimes for offices of
Congress. The most noted of this is the ‘box 13’ scandal surrounding Senator Lyndon B. Johnson
who eventually became President Johnson due the assassination of President John F. Kennedy.


           Box 13 Scandal.
The Box 13 scandal occurred in Jim Wells County, Texas during the Senate election of
1948. Lyndon B. Johnson appeared to have lost the election to Coke Stevenson, but six days after


23
     Case No. 17-14194 CAROL WILDING, STANLEY RIFKEN, SHARON CRAWFORD, WILLIAM SCOTT FRANZ, DAVID
     PULASKI, MARY JASMINE WELCH, JOSE ALBERTO GONZALEZ, JANE ELLEN PLATTNER, KIM MARIE HOULE,
     et al., Plaintiffs versus DNC SERVICES CORPORATION, DEBORAH WASSERMAN SCHULTZ, Defendants. Transcript of
     second hearing, oral arguments.


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polls had closed, 202 additional ballots were found in Precinct 13 - all of which were in Johnson's
favor. Stevenson remained ahead of Johnson during the run-off and by midday, but after the
discovery of the additional ballots, 200 additional votes for Johnson were found, leading to his
victory. 24


                                            25
Following this Harry Lee Adams                   started a private, non-official investigation. During this
investigation Adams noticed many signs of voter fraud. Adams started an official investigation,
while Johnson had Abe Fortas help with his legal strategy during this investigation. The
investigation centered around whether or not Johnson had George Parr, a member of
the Democratic party in Texas, help him falsify ballots. The investigation eventually reached
the Supreme Court. The Supreme Court Justice, Hugo Black, ruled that the Federal government
was not allowed to get involved with a state election. This ruling won Johnson the election, despite
allegations of Johnson speaking with George Parr, in South Texas that day, resulting in box 13
having 200 missing ballots.


There would be no charges, due to the fact that nothing could be proven. However, of note Box 13
voters all allegedly voted in alphabetical order, using the same ink pen, and each ballot possessed
the same hand writing. Clearly the crime of election fraud, and a conspiracy to conduct said crime
had occurred based upon the evidence and a logical review of the same.


                                                      Section II.
         While counting votes is easy to understand, the method of which votes are counted and the
legality of the votes to be counted are points that must be taught to the American People.
Democrats have emotionally stated ‘every vote must count’ and Republicans have responded with
the logical talking point ‘every legal vote must be counted’ this places the citizen in the middle and
they feel personally attacked. “The People” know election fraud has taken place for decades and
arguing over a few votes seems petty to them as they see BOTH parties as corrupt and inherently
uncaring. Our surveys indicate that more than 85% of Americans believe the political process is


24 "The Mystery of Ballot Box 13". Washington Post. March 4, 1990.
25 Dallek, Robert (1991). Lone Star Rising: Lyndon Johnson and His Times, 1908-1960. 200 Madison Ave, New York, NY
  10016, United States: Oxford University Press. pp. 340. ISBN 9780195054354.


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corrupt, and the rise in ‘outsider’ candidates, such as Donald J. Trump who prior to obtaining the
presidency had never held political office. It is a clear indicator “the people” were seeking a form
of change, and a choice from other than partisan enterprises.


Factually, The Help America Vote Act, a law enacted by the democratically controlled 107th
Congress to address their allegations of ‘fraud in the 2000’ election effectively changed major
elements of the administrative process of Federal elections which lead to the processes utilized by
the democrats to obtain a ‘sweep’ of all Federal offices in the 2020 Federal election in an unlawful
and unconstitutional manner.


Factually, these partisan enterprises which arose OUT of a lawful political party sought election
reform and then for more than 18 years actually fought the main parts of the law that ensured the
voices of the American People. Specifically, partisan enterprises ‘fought’ over the need to address
an ‘unprecedented’ event (Covid-19) recognizing the massive once in a lifetime opportunity to
skew the game of the election, while attacking the character of one outsider candidate while
effectively remaining silent about the “voter id requirements specifically tied to mail in / absentee
ballots” as required by the same Federal laws that all of the senior leaders in both partisan
enterprises signed into law in 2002.


HAVA as a tool in ‘unique’ times.
         HAVA provided Federal funds to build an infrastructure nationally that assured ‘the
people’ had a lawfully compliant outcome in a Federal election. For more than 18 years, due to
partisan conduct after the law was passed these provisions were effectively denied by career
politicians acting at the state level. It is clear that Federal funds were unlawfully utilized to ‘set-
up’ the electronic voting systems we now see used in the 2020 Federal election. It is also
evidentiarily clear that voting machines which were obtained by state officials using Federal funds
were used in questionable manners.


         It is equally apparent state and Federal elected officials had specific knowledge of
administrative requirements due to HAVA, and purposefully failed to implement them, while
creating a frivolous argument that ‘states rights’ allowed the illegal conduct. What is MOST

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shocking is members of Congress held both the knowledge of the lawful and Constitutional
requirements to conduct a Federal election for Congress. These partisan enterprise members on
the state levels also knew the ‘states’ had no right or legal argument to deny the lawful
administration of Federal ballots used in a Federal election. Factually, all certifications for office
based off the Federal ballot are individual criminal acts, as part of a larger conspiracy to defraud
the people of the United States, using Federal and private interest monies to do so.


            What is The Help America Vote Act?
The Help America Vote Act (HAVA) was passed by the U.S. Congress in 2002 to make sweeping
reforms to the Nation's voting process. HAVA addresses improvements to voting systems and
voter access that were identified following the 2000 election. HAVA also established the Election
Assistance Commission (EAC) to assist the states regarding HAVA compliance and to distribute
HAVA funds to the states. HAVA mandates that the EAC test and certify voting equipment,
maintain the National Voter Registration form and administer a national clearinghouse on elections
that includes shared practices, information for voters and other resources to improve elections.
Section 803 of HAVA transferred the functions of the FEC's National Clearinghouse on Election
Administration to an Election Assistance Commission (EAC).


            What HAVA as a law created / mandated.
HAVA26 created new mandatory minimum standards for states to follow in several key areas of
election administration. The law provided funding to help states meet these new standards, replace
voting systems and improve election administration. HAVA required that the states implement the
following new programs and procedures:
      •     Provisional Voting
      •     Voting Information
      •     Updated and Upgraded Voting Equipment
      •     Statewide Voter Registration Databases
      •     Voter Identification Procedures
      •     Administrative Complaint Procedures


26
     https://www.Congress.gov/107/plaws/publ252/PLAW-107publ252.pdf

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HAVA also mandated requirements that the states must follow regarding administrative
procedures including:


    1. HAVA required states to develop a single, uniform, official, centralized, interactive
         computerized statewide voter registration list defined, maintained, and administered at
         the State level
    2. HAVA required the statewide list be coordinated with other agency databases within the
         state.
    3.    HAVA also required regular "maintenance" of the statewide list including removing
         ineligible voters and duplicate names are eliminated in accordance with the National
         Voter Registration Act of 1993 (NVRA).
    4. HAVA required that first-time voters who registered by mail, and have not previously
         voted in a Federal election in the State, to present a form of identification to the
         appropriate State or local election official before or on election day.
    5. The ID requirement applies to in person and vote by mail voters. In the case of a vote by
         mail voter, a copy of the ID must be submitted with the ballot. A State may enact further
         ID requirements which aren't specified under HAVA but cannot retract or modify the
         voter ID requirements, or the procedures to collect and retain them.
    6. HAVA required voters identified as ineligible (such as voters not found on the registered
         list), but who believe themselves to be eligible, to be able to cast a provisional ballot.
                 a. After the election, the appropriate State or local election entity will determine if
                    the voter was eligible, if so, counting the vote and
                 b. notify the voter of the outcome
    7. HAVA set forth the requirements for all voting systems, including that they:
                 a. permit the voter to verify (in a private and independent manner) the votes selected
                    by the voter on the ballot before the ballot is cast and counted;
                 b. provide the voter with the opportunity (in a private and independent manner) to
                    change the ballot or correct any error before the ballot is cast and counted
                    (including the opportunity to correct the error through the issuance of a



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                    replacement ballot if the voter was otherwise unable to change the ballot or
                    correct any error); and
                 c. notify the voter of overvotes (votes for more than the maximum number of
                    selections allowed in a contest) and provide the voter a chance to correct these
                    errors.

         Reviewing compliance at the state level.
It is easy to review ballot and election administration practices related to COVID-19 pandemic for
compliance to HAVA. Detailed analysis shows all 50 states failed to adequately meet the mail-in
ballot, and mail in voter registration minimum requirement standards as set forth in the Act.
According to The Wall Street Journal “Five states—Colorado, Hawaii, Oregon, Washington and
Utah—routinely conduct their elections almost entirely by mail. In response to the spread of
Covid-19, at least four additional states—California, Nevada, New Jersey and Vermont—and the
District of Columbia have pledged to mail ballots to all properly registered voters for the
November election. Some other states made it easier to vote by mail in response to the coronavirus
                                             27
crisis by changing various rules.”                The article then provides a detailed map of each state’s
modification of mail in voting / ballot policies, all of which violate the Act’s Section 303, which
of course violates the minimum requirements of Section 304. The article outlines ‘mail in balloting
rules’ in all 50 states and a clear understanding of each modification of ballot administrative
procedures is outlined for public view on Ballotpedia.28


With this review completed, we move on to post election day certification of Federal ballots which
expands the failures to properly administer Federal law, through unlawful use of Federal monies
tied to minimum requirements on to acts of negligence and malfeasance conducted by individual
states Secretary of State, and Governors29. From soup to nuts, the individual states conduct to
certify the Federal election reeks of incompetence or outright conspiracy to defraud the Federal
government, or worse. When the most simple ‘minimum requirement’ is to ask a question, or
obtain identification when a first-time mail in ballot is presented / obtained, and all states fail to


27
    https://www.wsj.com/articles/how-to-vote-by-mail-in-every-state-11597840923
28
   https://ballotpedia.org/Changes_to_election_dates,_procedures,_and_administration_in_response_to_the_coronavirus_(COVID
    -19)_pandemic,_2020
29
    https://ballotpedia.org/Election_results_certification_dates,_2020

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do so, it is clear Federal law was violated by the states due to failure to meet a contractual duty,
from which Federal monies are tied.
           A complicated past, an ongoing history of “failures” to comply, and known issues.
While officials attempted to create a façade of competency in 2020, the record shows nearly two
decades of malfeasance and negligence. It was known in 2005, most if not all voting machines
including those by Diebold Election Systems, never met the requirements of HAVA. As late as
2005, vendors were selling non-compliant machines to unwitting states and counties who believed
that they were HAVA-compliant. Unless vendors offered a specific guarantee of HAVA
compliance, equipment may have required scrapping or retrofitting at taxpayers' expense after
January 1, 200630             In the 2004 election Approximately 1.9 million voters nationwide cast
provisional ballots. Of those, approximately 1.2 million—or 64.5%—were counted however, the
majority of states failed to meet the notification requirements of HAVA for a variety of reasons.
Despite more than 18 years of receiving funds all fifty states failed to meet the mail in ballot / mail
in registration requirements named in Section 303 of the Act.


           A requirement for prosecution to stop repeated conduct.
Under Federal law states and state officials the conduct of certification of elections should be
considered direct attempts to defraud the united states government. This statement is made due to
the use of Federal funds to purchase electronic voting machines, and the failure to meet the
requirements of HAVA, with the specific knowledge of both of these functions.


While this might seem a Trump administration or ‘RNC’ response, there does exist a history of
improper conduct, and misconduct regarding the use of Federal funds regarding HAVA. A number
of states and state officials have previously come under fire for the fact that the majority of the
billions of dollars allocated to the states for HAVA has been for increased access for disabled
voters, while the main goal of HAVA, avoiding the problems that plagued the 2000 elections in
Florida, may have not been adequately served. A 2005 expose published by the Associated Press



30
     Pynchon, Susan (June 28, 2005). "Diebold Touch Screens Don't Meet Disability Requirements". Verified Voting Foundation.
     Archived from the original on September 27, 2007. Retrieved 2008-10-10. Pynchon, Susan (June 28, 2005). "Diebold Touch
     Screens Don't Meet Disability Requirements". Daytona Beach News-Journal Online. Internet Archive. Archived from the
     original on 2005-07-11. Retrieved 2008-10-10.Why Can't We Keep Our Old Voting Machines?". N.C. Voter. North Carolina
     Coalition for Verified Voting. Archived from the original on 2008-09-05. Retrieved 2008-10-10.

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31
     cited Democrats attacking the Bush administration in a partisan manner for the perceived delay
in the release of $2.2 Billion in funding to the states.


''A lot of states are still trying to sort out how to get to the deadlines," said Rebecca Vigil-Giron,
New Mexico's secretary of state. ''That's a major, major challenge. We're probably a year behind
schedule.” The three-term Democrat predicted that New Mexico would not be incompliance with
the 2008 Presidential election.                  The three-term democrat specifically stated that all the
improvements Congress demanded to be up and running everywhere would NOT occur. The
article highlighted the issues we now face in the 2020 election showing that in 2006 Democrats
sought to eradicate the ‘safety-net’ provisions of HAVA stating that “State and local officials
administer elections, not the Federal government.”


In a partisan manner the secretary of states, led by members of the democratic party alleged that
the Federal election reforms were “spilling beyond their boundaries, chipping away at state control
and responsibility.” Through the group, the National Association of Secretaries of State, the
democratic party-controlled group approved a formal resolution that asked Congress to dissolve
its oversight organization, the Federal Election Assistance Commission, after the 2006 elections.
This resolution failed to dissolve the Commission, however, through a partisan effort at the state
level the DNC led and accomplished an effort to effectively deny the enforcement of the ID
requirements, and provisional ballot right as mandated in the 2002 Federal law. These issues were
known issues prior to 2020 election cycle.


And this is clear due to commentary given on Monday, July 15th 2019th when the US Senate held
a hearing on Election Security in which Senator Wyden stated “old software makes new electoral
systems ripe for hacking”32


            The complicated legal question.
            While arguments made by the republican party and the Trump campaign focused solely on
the issues with the Presidential vote count in multiple courts. And despite the false media narrative


31
     http://articles.boston.com/2005-02-08/news/29215924_1_election-officials-election-law-Presidential-election
32
     Congressional Record Volume 165, Number 118, Senate, Pages S4815-S4816 (Monday, July 15th, 2019)

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fraudulently broadcast across state lines in a manner which nearly meets all of the requirements
for violations of the RICO act. There is a larger concern regarding administrative failures
conducted by the states, and how they affect the Federal election results for Congresspersons, and
senators. All states broadly issued sweeping changes in election polices as a result of the COVID
pandemic.


            It is clear that NONE of the States approached Congress and obtained approval to voting
policies, plans, and procedures for electing representatives and senator. Article 1, Section 4. Of
the United States Constitution clearly addresses the matter of Elections stating “The times,
places and manner of holding elections for senators and representatives shall be prescribed in each
state by the legislation thereof:                but the Congress may at any time by law make or alter such
regulations….” It is clear the Congress did in fact make a law in 2002 that changed the regulations
regarding all Federal elections including those of the Senators and Representatives that the States
failed to adhere to.


            The unspoken issue in the 2020 election is not the legality of the vote, but the illegality of
the Federal ballot!            The more shocking element here is due to the unlawful conduct of the 2020
Federal elections the 435 members of the 117th US House of Representatives is illegally and
unconstitutionally seated AND 35 members of the 117th US Senate are also illegally and
unconstitutionally seated33. Further, each act of the 117th Congress including the establishment
of agreements stipulating rules for certification of the Federal Presidential election, the casting of
electoral ballots, the certification process, as well as, all acts of impeachment against Donald J.
Trump are entirely fraudulent due to the unlawful nature of the Federal ballot itself.


            Assessment is easy.
All ballots that do not comply with the provisions of HAVA also fail to be in lawful compliance
with the Constitution! Due to the failure to comply with the administrative provisions as required
within HAVA, states that failed to legally comply violated the US Constitution and no matter what


33
     While many will reject this statement due to the 17th Amendment, this is an erroneous thought as the 17th Amendment’s language
     does not change the language of Article 1 Section 4 nor eradicate the Congress’s authority to regulate Senator’s selection or the
     manner in which they are.

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‘state law’ dictates the Supremacy clause prevails. Due to this states that certified their election
results without assuring the Federal ballot requirements violated multiple Federal laws34 and
persons who did so ‘with knowledge’ likely did so in violation of criminal law. Logically, no vote
can be counted from a ballot that fails to meet Federal law, and violates the United States
Constitution as this is the very essence of the ‘fruit of poisonous tree’ doctrine.35 , 36


Instability due to lack of legitimacy.
While the focus of the election has been purposefully misdirected on the Trump / Biden outcome,
the relevant and required task is to determine which ballots, and ballot processes, as well as
administrative duties did not comply with HAVA in the 2020 election. Questionably any attempt
to ‘reconstruct’ the 2020 election is impossible due to the fact many States have now destroyed
ballots and removed materials from their ‘as delivered’ status from each ballot. Only complicating
this task is the unprecedented nature of the 2020 election itself. Of the almost 159 million, 600
thousand ballots cast 37 nearly 100 million 38 of them were cast as ‘absentee’ which also indicates
the ballot was submitted in a ‘mail in’ manner.


         Purposeful propaganda to create a path for criminal conduct.
In late 2019 the DNC talking point levied by Joe Biden and Nancy Pelosi was that ‘Covid wasn’t
a danger to the USA’ while levying personal attacks against Mr. Trump personally for being
incompetent, or overbearing regarding the early-stage travel bans put in place by the Trump
administration. In typical fashion Mr. Biden flipped on the issue and later lied about Mr. Trump’s
early pandemic plans and policies.           Factually, Mr. Trump directed the U.S. Centers for Disease
Control and Prevention tried to get into China just one week after China reported the outbreak to
the World Health Organization on Dec. 31, 201939.


“On January 6, we offered to send a CDC team to China that could assist with these public health
efforts,” Health and Human Services Secretary Alex Azar said at a Jan. 28 press conference. “I


34
    raising credibility to the Trump campaigns allegations of election frauds and criminality.
35
    https://www.law.cornell.edu/wex/fruit_of_the_poisonous_tree
36
    https://www.law.cornell.edu/supremecourt/text/251/385
37
   https://docs.google.com/spreadsheets/d/1h_2pR1pq8s_I5buZ5agXS9q1vLziECztN2uWeR6Czo0/edit#gid=2030096602
38
    https://electproject.github.io/Early-Vote-2020G/Early_Vote_Analysis_11_01.html
39
    https://web.archive.org/web/20200128190509/https://www.who.int/emergencies/diseases/novel-coronavirus-2019

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reiterated that offer when I spoke to China’s Minister of Health on Monday, and it was reiterated
again via the World Health Organization today. We are urging China: More cooperation and
transparency are the most important steps you can take toward a more effective response.”40 More
than a week later, Azar said again at a Feb. 7 press conference that “our longstanding offer to send
world-class experts to China to assist remains on the table.”41 At the time, the New York
Times reported, “Normally, teams from the agency’s Epidemic Intelligence Service can be in the
air within 24 hours.”42 Factually a team of public health experts from the WHO was allowed by
Chinese authorities to visit Wuhan, where the outbreak began, later in February, according
to the South China Morning Post43. The team included specialists from the United States as well
as Germany, Russia, Japan, Singapore, South Korea and Nigeria. Despite these facts Mr. Biden
lied regarding his knowledge of the Trump administrations conduct during the early crisis in China
stating “There was no effort to do that” 44


Normally this type of conduct would be ‘business as usual’ for political campaigns. However, due
to the weaponization of the pandemic in combination with the propaganda created by partisan
enterprises such as Sapphire Strategies who also directed ‘downstream’ talking points to
candidates, social media moguls, high net worth donors and ‘leaders in Congress’ a conspiracy to
defraud the United States Government, and violate ‘the people’s’ liberty interest was created.
Partisan politicians were directly directed by DNC engaged organizations and contracted DNC
member-controlled companies were ordered to spread rumors, propaganda, and fraudulent talking
points not only the ‘media’, but also to State legislatures, donors, and companies. These talking
points were sent out in email to connected persons who then conducted elements of racketeering
crimes.


This conduct includes obvious violations of mail and wire fraud statutes since this propaganda was
sent to partisan enterprise agents who then knowingly engaged in phone calls, text message



40
   https://www.hhs.gov/about/leadership/secretary/speeches/2020-speeches/remarks-at-coronavirus-press-briefing.html
41
   https://www.hhs.gov/about/leadership/secretary/speeches/2020-speeches/remarks-at-briefing-by-members-of-the-President-
   coronavirus-task-force.html
42
   https://www.nytimes.com/2020/02/07/health/cdc-coronavirus-china.html
43
   https://www.scmp.com/news/china/society/article/3051917/who-coronavirus-team-ground-zero-wuhan-work-out-next-
   containment
44
   http://transcripts.cnn.com/TRANSCRIPTS/2003/27/se.01.html

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campaigns, and interstate travel to ‘spread the word’ and to collect monies from donors, as well as
high net worth persons such as Mark Zuckerberg. Persons who then believed the propaganda
propagated by the conspiring persons then expanded these attacks on the office of the President by
overstepping constitutional protections, and Federal laws.
This conduct was done in order ‘get trump’ at all cost, and to cause a change in voting methods
while purposefully failing to lawfully execute a Federal election as required within the
Constitution.         Due to COVID policies enacted from the fraudulent narratives most ballots
submitted were submitted in a fashion to be considered as ‘first time mail in voter’, and trigger
voter Identification requirements which require each ballot to be presented with a copy of the
voter’s ID, or have the voter present an ID to an election official prior to casting the mail in vote.
Factually the EAC did not issue a press release or guidance in advance of the 2020 election as
required in HAVA. Nor did any member of Congress act in support of their duty to educate
persons regarding requirements under Federal law to assure enforcement of Sections 302 and 303
of HAVA.


            A focused review of facts.
                                                                                 45
            Using data obtained from the US Elections Project                         and comparing this data with the
testimony of witnesses in the States of Georgia, Wisconsin, Michigan, Pennsylvania, California,
Nevada, Arizona, North Carolina, and Virginia analysis indicates that as many as 38.6 Million
ballots automatically failed to comply with HAVA.                            This failure can invoke Constitutional
challenges to the legitimacy of the ballot and all of the Federal votes which would be tallied from
said ballots.


            It would appear no vote could be tabulated from a ballot that did not comply with Federal
law. What is shocking is senior members of the 116th Congress knew of this, and did nothing to
act. While avoiding any commentary to the states reminding them of their lawful duty to comply
with Federal law regarding to the Federal Ballot due to the spending clause46 of the United States


45
     https://electproject.github.io/Early-Vote-2020G/Early_Vote_Analysis_11_01.html
46
     In HAVA, the Congress made conditions clear regarding ‘minimum requirements’ in section 304 of the Act, and pursuant to
     Arlington Central School District v. Murphy (2006) the supreme court ruled that nothing stops Congress from imposing
     conditions through the ‘spending clause’. Further as the ‘use of funds’ language was clear in the Act and compliance was
     required Congress met the requirement of ‘the relatedness doctrine’ was met, due to the ‘few meaningful limitation’ criteria
     covered in South Dakota v Dole . Since Congress did not use ‘financial inducement’, and the States used funds for 18 years

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Constitution. Members of Partisan enterprises acting with in Congress itself did little or nothing
to assure other security measures were enacted to prohibit electronic interference.


         In his July 15th, 2019 commentary to the Congress Senator Wyden stated senior members
of the House Republican leadership stated on multiple occasions he addressed his concerns with
the EAC not being secure and even stated “our elections last week were not secure”. He further
stated “In April, the FBI Director said that 2018 was ‘just a kind of dress rehearsal for the big
show in 2020. ‘ ”. Shortly thereafter members of partisan enterprises did nothing to secure the
electronic deficiencies of the electronic voting systems, they even instigated the CARES act which
further reduced the electronic security. Within a few months, members of partisan enterprises
pushed a series of false narratives for the need to change


         The modern-day box 13?
Many of those from the class of the 107th Congress are still resident in the 116th Congress. These
persons include Nancy Pelosi, Chuck Schumer, Mitch McConnell, Mike Pence, Diane Feinstein,
Patty Murray, James Inhofe, Ronald Wyden, Dick Durbin and John Cornyn just to name a few.
Most damning regarding the 107th alumni is Mr. Biden. It must be noted that of all names listed
EACH voted to pass the Help America Vote Act of 2002, and held a Congressional oath of office
duty to educate people about the act, but failed to do so.


Directly Mr. Biden’s insistence in mail in ballots, and changes in voting policies ‘as a response to
Covid’ was a personal and direct engagement into acts of criminality. It is apparent Mr. Biden’s
insistence on changes to election procedures without assurance of compliance with Federal laws
prohibits him from accepting the oath of office for ANY Federal office in the future, including the
presidency based upon his personal knowledge of acts to violate Federal law, and his failure to
assure the protection of the United States Constitution. But then again, the DNC has stated it has
no duty to tell the truth.


                   A gelded ‘regulatory authority’


  without objection to any element of the at they lack any ‘coercive’ argument as clearly stated in NFIB v. Sebelius in Chief Justice
  Robert’s opinion regarding the Affordable Care Act.

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Perhaps these people ‘failed’ in their duties due to the purposeful lack of regulatory or oversight
authority of the EAC to enforce HAVA. Further, perhaps these persons failed to verbally enforce
or make ANY effort to call for enforcement of the Act due to its lack of punishment for failure to
comply or any defined remedy for refusal to enforce said law. Factually the ‘framers of the fraud
scheme’ purposefully excluded and prohibited the US Attorney General of any duty to enforce, or
method to enforce the Act. The sole path to criminal or civil remedy is tied directly to other
sections of the US Code, perhaps civil rights violations, but most definitely criminal prosecution
for violation section 42 USC 371 for acts to conspiracy to defraud the United States Government.


                                                        Section III.
Reasoning withdrawal from the façade of stability.
Logically if a body of persons conduct acts while operating under color of law those acts can never
be deemed to be legitimate or lawful. Acts which violate rights by definition are unlawful pursuant
to 18 USC 242 if they “deprive ‘any person’ of any rights, privileges, or immunities secured or
protected by the Constitution or laws of the United States”. Persons conducting these acts are
determined by law to be criminal. It is clear the acts of persons impersonating the 117th Congress,
swore oaths of office without legal merit on January 3rd 2021.


What is horrific for the United States is the series of actions conducted by the illegitimate 117th
Congress after that date which directly attacked United States Citizens who gathered to watch a
speech by a sitting President. While the whole story of the events conducted by ‘protestors’ on
January 6th 2021 who assembled and moved to the United States Capital, the real crime
legitimately unfolded inside the chambers of the capital building. Never before in US history has
a cabal of the like-minded attempted to execute a revolution by fraud against the US people, but
on January 6th 2021 this is exactly what occurred as defined by law, and within the body of the US
Constitution itself.


It is clear the supremacy clause 47 establishes “the Federal constitution, and Federal law generally
take precedence over state laws, and even state constitutions.”                It prohibits states



47
     Article VI, Paragraph 2 of the U.S. Constitution

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from interfering with the Federal government's exercise of its Constitutional powers, and from
assuming any functions that are exclusively entrusted to the Federal government. This is where
we must logically focus on the facts of the Federal ballot, the enforcement of Federal laws for the
Federal election, and the absolute adherence to the lawful Federal government’s execution of its
Constitutional powers.              Factually the 116th Congress’s term ended on January 3rd, 2021.   The
conduct of elections for the 117th Congress was not lawful, and therefore there is no 117th
Congress. Due to this the remaining sole ‘power of the Federal government’ which can be deemed
to be lawful is in the executive branch currently held by President Donald J. Trump.              As the
117th’s action was not lawful, all acts to remove President Trump is by the very nature of law, null
and void.


Functionally, the United States has entered into a Constitutional crisis of never considered
consequences48 from which no logical path can be obtained due to the inherently nefarious conduct
of the majority of the 116th Congress, and their failure to execute their lawful duties while acting
in a combined cabal.             How can any logical analyst deem the United States in January of 2021 to
be a ‘safe haven’ ? :


          §      Either the Nation remains in a Constitutional Crisis until the 2020 election debacle is
                 unraveled through President Trump’s execution of the Insurrection Act which leads to
                 hopefully temporary civil unrest.
          Or
          §      The Nation ceases to lawfully exist once Joseph Biden is illegitimately inaugurated on
                 January 21st 2021 which leaves every act conducted by two illegitimate and
                 unconstitutionally convened branches of the United States Federal Government to be a
                 nullity immediate as they are conducted.


There is no ‘business as usual’ moving forward after January 3rd, 2021.


Conclusion.



48
     https://www.tni.org/en/article/democracy-danger-rise-illegitimate-authority

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Stability in asset management revolves around certainty. Hyman Minsky49 stated “the more stable
things become and the longer things are stable, the more unstable they are when the crisis hits.”
While Professor Minsky theorized financial crisis are endemic in capitalism because periods of
economic prosperity encouraged borrowers and lender to be progressively reckless. This excess
optimism creates financial bubbles and the later busts. Therefore, capitalism is prone to move from
periods of financial stability to instability. This is a type of market failure that needs government
regulation. Professor Minsky focused on the ‘need for government regulation’ to prohibit rampant
capitalism which he stated would lead to economic anarchy.


It would be interesting to discuss with Professor Minsky the effects of illegitimate government on
capitalism unfortunately Professor Minsky died in 1996. However, Professor Minsky would
quickly see the issues of dereliction of duty and gross malfeasance by multiple layers of State and
Federal ‘officers’ acting under color of law which effectively destroyed every aspect of lawful
government regulatory authority. Purely the criminal and conspiratorial acts of two partisan
enterprises have efficiently destroyed every aspect of stability, legitimacy, and faith in the safe
haven that WAS the United States.


s/John S. Vanderbol III
John S. Vanderbol III




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     http://www.levyinstitute.org/about/minsky/

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